        Case 1:13-cv-03850-RWS Document 8-1 Filed 11/27/13 Page 1 of 7




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

JOHNSON RESEARCH &                     )
DEVELOPMENT CO., INC.,                 )
                                       )
             Plaintiff,                )
                                       )
vs.                                    )      Civil Action No. 1:13-cv-03850-RWS
                                       )
HASBRO, INC. AND HASBRO                )
INTERNATIONAL, INC.,                   )
                                       )
             Defendants.               )
                                       )

      MEMORANDUM IN SUPPORT OF HASBRO’S MOTION TO STAY
        PENDING DISPOSITION OF ITS MOTION TO TRANSFER

                                INTRODUCTION

       Hasbro, Inc. and Hasbro International, Inc. (together, “Hasbro”) respectfully

move to stay proceedings regarding the motion to confirm the arbitration award

filed by Johnson Research & Development Co., Inc. (“Johnson Research”) on

November 20, 2013 (Dkt. No. 1) pending the disposition of Hasbro’s Motion to

Transfer, Stay, or Dismiss Johnson Research’s Motion to Confirm, based on the

first-filed rule, which is being filed concurrently herewith (“Motion to Transfer”).

       Hasbro files this motion on an emergency basis and requests an immediate

hearing pursuant to Local Rule 7.2(B) because Hasbro’s response to Johnson
        Case 1:13-cv-03850-RWS Document 8-1 Filed 11/27/13 Page 2 of 7




Research’s motion to confirm the arbitration award may be due on December 6,

2013, which under a normal briefing schedule would be before the Court resolves

Hasbro’s Motion to Transfer. Counsel for Johnson Research has refused to extend

those deadlines while the Court considers whether it should transfer or dismiss this

case in favor of the first-filed case pending in the District of Rhode Island. If the

Court grants the Motion to Transfer, there will be no need to brief or decide any

other issues in this action. Accordingly, principles of sound judicial administration

and efficiency favor staying all deadlines in this case until that motion is decided.

                           FACTUAL BACKGROUND

      As is more fully set out in Hasbro’s Motion to Transfer, the parties dispute

the enforceability of an arbitration award rendered on October 29, 2013, and

amended on November 18, 2013, awarding over $70 million to Johnson Research

(the “Award”). Motion to Transfer, Exhibit B ¶¶ 1, 32.

      After the Award was issued, Hasbro filed a complaint in the United States

District Court for the District of Rhode Island seeking to vacate the Award (the

“Rhode Island Action”). Id. ¶ 37. On the following day, November 19, Hasbro’s

counsel notified counsel for Johnson Research of the filing, requested that counsel

accept service of original process on behalf of Johnson Research, and suggested

that the parties agree on a briefing schedule for submission to the Rhode Island


                                           2
         Case 1:13-cv-03850-RWS Document 8-1 Filed 11/27/13 Page 3 of 7




court. Johnson Research’s counsel agreed to accept service on November 20,

2013, and provided Hasbro’s counsel with a signed return of service, which Hasbro

filed with the Rhode Island court on November 22, 2013. Rhode Island Action

Dkt. No. 4 Ex. C.1

       Nonetheless, Johnson Research prepared and filed this action in this Court

seeking to confirm the Award. Notably, Johnson Research did not advise this

Court that Hasbro had previously filed in the Rhode Island court an action seeking

to vacate the same Award that Johnson Research seeks to confirm.

       Hasbro has concurrently moved to transfer this action to Rhode Island

because the two actions substantially overlap and the Rhode Island Action was

filed first.

       Absent a stay in this action pending disposition of Hasbro’s Motion to

Transfer, the parties would potentially face other deadlines in this action. For

example, Hasbro’s response to Johnson Research’s motion may be due (depending

on how it is treated under the Local Rules) in nine days, on December 6, 2013.

Further, the parties are required to submit a Joint Preliminary Planning Report




1
  Counsel for Johnson Research was served with the original Complaint (Rhode
Island Action, Dkt. No. 1), as well as the Amended Complaint filed by Hasbro in
the Rhode Island Action (Rhode Island Action, Dkt. No. 2).

                                          3
         Case 1:13-cv-03850-RWS Document 8-1 Filed 11/27/13 Page 4 of 7




thirty days after Hasbro’s response, or on January 5, 2013. See N.D. Ga. Civil LR

16.2.

                                      ARGUMENT

        In this case of two parallel actions, the first-filed rule requires that, absent

compelling circumstances, “‘the court initially seized of a controversy should be

the one to decide the case.’” Travel Spike, LLC v. Travel Ad Network, Inc., 1:11-

CV-3199-RWS, 2012 WL 887591, at *1 (N.D. Ga. Mar. 15, 2012) (Story, J.)

(quoting Merrill Lynch, Pierce, Fenner & Smith, Inc. v. Haydu, 675 F.2d 1169,

1174 (11th Cir. 1982)). This rule “serves ‘to maximize judicial economy and

minimize embarrassing inconsistencies by prophylactically refusing to hear a case

raising issues that might substantially duplicate those raised by a case pending in

another court.’” Id. (quoting Cadle Co. v. Whataburger of Alice, Inc., 174 F.3d

599, 604 (5th Cir. 1999)).

        The principles of “‘comity and sound judicial administration’” on which the

first-filed rule rests will be undermined if the parties are forced to continue to

litigate the dispute in both forums while this Court considers Hasbro’s Motion to

Transfer. Id. (quoting Haydu, 675 F.3d at 1174).

        In order to preserve judicial and party resources and prevent duplicative

litigation, Hasbro respectfully requests that this Court stay further deadlines in this


                                             4
        Case 1:13-cv-03850-RWS Document 8-1 Filed 11/27/13 Page 5 of 7




case pending disposition of the Motion to Transfer. There is no question that the

Court possesses that inherent power. See, e.g., Clinton v. Jones, 520 U.S. 681, 706

(1997) (“The District Court has broad discretion to stay proceedings as an incident

to its power to control its own docket.”); Landis v. N. Am. Co., 299 U.S. 248, 254

(1936) (“[T]he power to stay proceedings is incidental to the power inherent in

every court to control the disposition of the causes on its docket with economy of

time and effort for itself, for counsel, and for litigants.”). Within this inherent

power is the power to stay to avoid “duplicating a proceeding already pending in

another federal court.” I.A. Durbin, Inc. v. Jefferson Nat. Bank, 793 F.2d 1541,

1551-52 (11th Cir. 1986); see also Ortega Trujillo v. Conover & Co. Commc’ns,

Inc., 221 F.3d 1262, 1264 (11th Cir. 2000) (recognizing the power of the district

court “to stay a case [during a definite period] pending the resolution of related

proceedings in another forum”).

      Here, Hasbro asks for a limited stay—restricted to the time in which this

Court considers its Motion to Transfer—which would achieve both the general

goals of sound judicial administration, as well as the specific goals of the first-filed

rule. Because “staying the present case would be beneficial to the parties and the

court, as it would promote judicial efficiency and avoid inconsistent results,” this

Court should grant Hasbro’s motion. Columbia Cas. Co. v. City of E. Point, Civil


                                           5
         Case 1:13-cv-03850-RWS Document 8-1 Filed 11/27/13 Page 6 of 7




Action No. 1:09-CV-01388-JOF, 2009 WL 4641808, at *1 (N.D. Ga. Dec. 1,

2009).

                                 CONCLUSION

      This Court should grant Hasbro’s motion and stay all proceedings and

deadlines in this action during its consideration of Hasbro’s Motion to Transfer.

      Pursuant to Civil LR 7.1(D), the undersigned hereby certifies that the

foregoing brief has been prepared with Times New Roman 14-point font, one of

the font and point selections approved by the court in Civil LR 5.1(C).

      Respectfully submitted this 27th day of November, 2013.

                                             DUANE MORRIS LLP

                                             /s/ John R. Gibson
                                             William D. Barwick (Bar No. 041025)
                                             wdbarwick@duanemorris.com
                                             Matthew C. Gaudet (Bar No. 287789)
                                             mcgaudet@duanemorris.com
                                             John R. Gibson (Bar No. 454507)
Of Counsel:                                  jrgibson@duanemorris.com
                                             DUANE MORRIS LLP
Darin Snyder                                 1075 Peachtree Street NE, Suite 2000
(pro hac vice application to be filed)       Atlanta, GA 30309
dsnyder@omm.com                              Phone: 404-253-6900
O’MELVENY & MYERS LLP                        Fax: 404-253-6901
Two Embarcadero Center, 28th Floor
San Francisco, California 94111-3823         Counsel for Hasbro, Inc. and
Phone: 415-984-8700                          Hasbro International, Inc.
Fax: 415-984-8701



                                         6
       Case 1:13-cv-03850-RWS Document 8-1 Filed 11/27/13 Page 7 of 7




                          CERTIFICATE OF SERVICE

      I hereby certify that on November 27, 2013, I electronically filed the

foregoing document with the Clerk of Court using the CM/ECF system which will

automatically send email notification of such filing to all counsel of record.


                                       /s/ John R. Gibson
                                       John R. Gibson

                                       Counsel for Defendant Hasbro, Inc. and
                                       Hasbro International, Inc.




                                          7
